Case 2:04-cV-02996-BBD-STA Document 28 Filed 04/25/05 Page 1 of 3 Pa e|D 17

IN THE UNITED sTATEs DISTRICT CoURT
FoR THE WESTERN DIsTRICT oF TENNESSEE _~)_
WESTERN DIvIsIoN ‘-‘~`1 “-* s1 ‘~* t ~ ~"

WENDOLYN C. PETTIES,

as Administratrix of the estate of
EFFIE .]. WOOTEN, deceased, and
on behalf of the Wrongful death
beneficiaries of EFFIE J. WOOTEN,

Plaintiff,

v. No. 04-2996
KINI)REI) HEALTHCARE, INC.
d/b/a PRIMACY HEALTHCARE AND
REHAB!LITATION CENTER, et al.,

\_JV\_I\_/V`_/\./`_/\_IW\._/\_H\_/V\'/

Defendants.

 

ORDER SETTING SCHEDULING CONFERENCE

 

On March 3, 2005 the Court set a Scheduling Conference in this matter for March 23,
2005. As part of the Notice of Settir\g for this Scheduling Conference, the parties Were required
to submit a proposed Scheduling Order no later than March 15, 2005. The parties’ initial
proposed Scheduling Order did not comply With the model order supplied With the Notice of
Setting; therefore, the undersigned’s staff informed the parties they would need to resubmit the
proposed Scheduling Order.

The parties then filed a Revised Joirlt Proposed Scheduling Order With the Court. After
review, the Court concludes that this proposed Scheduling Order does not comply with the model
order supplied With the Notice of Setting. Specifically, the Revised Order proposes that the

Court stay discovery and also discusses alternative dispute resolution As such, because the

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with Ru|e 58 and/or 79{a) FHCP on

Case 2:04-cV-O2996-BBD-STA Document 28 Filed 04/25/05 Page 2 of 3 Page|D 18

parties have not complied with the model Scheduling Order, the Court orders that the parties
shall appear before the Court for a Scheduling Conference.

Therefore, it is ORDERED that a Scheduling Conference be held before United States
Magistrate Judge S. Thomas Anderson on THURSDAY, MAY S, 2005 at 2:00 P.M. in
Courtroom M-3, 9th Floor, Federal Building, Mernphis, Tennessee. Out of town counsel are
permitted to attend the Scheduling Conference via telephone, if counsel notifies the Magistrate
Judge’s chambers of their desire to appear by telephone at least 48 hours prior to the
Scheduling Conference.

IT IS SO ORDERED.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date: ¢:J 227. 2005/

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02996 was distributed by faX, mail, or direct printing on
April 26, 2005 to the parties listed.

ESSEE

 

.lirnmy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT

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Honorable Bernice Donald
US DISTRICT COURT

